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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


FRED GARFIELD, On Behalf of Himself         )      No. 07-CV-1309 (DLC)
and All Others Similarly Situated,          )      ECF Case
                                            )
                                            )      CLASS ACTION COMPLAINT
                             Plainitff,     )      FOR VIOLATIONS OF THE
                                            )      FEDERAL SECURITIES LAWS
                                            )      SEEKING MONEY DAMAGES
                                            )
       vs.                                  )
                                            )      DEMAND FOR TRIAL BY JURY
OPENWAVE SYSTEMS INC.; DAVID                )
C. PETERSCHMIDT; HAROLD L.                  )
COVERT; DONALD LISTWIN; and                 )
ALAN BLACK                                  )
                Defendants.                 )
                                            )
                                            )

              Plaintiff brings this securities fraud action individually on behalf of

himself and as a class action on behalf of all persons or entities who purchased or

acquired the common stock of Openwave Systems Inc. (“Openwave” or the “Company”)

during the period from September 30, 2002 through and including October 26, 2006 (the

“Class Period”) and were damaged thereby. Plaintiff alleges the following facts upon

knowledge, with respect to his own acts, and with respect to all other facts, based on an

investigation conducted by his counsel, including, among other things, a review of

Openwave’s public filings and press releases, news, and research reports about the

Company, and upon other information available to the public.

                             NATURE OF THE ACTION

       1.     In 2000 and 2001, the senior executives of Openwave caused the

Company to grant to its executives and certain other employees of the Company stock



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